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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

    In re:                                      :
                                                  Docket #1:21-cv-08149-
    PHILLIPS,                                   : ALC-SLC

                           Plaintiff,           :

       - against -                              :

    CITY OF NEW YORK, et al.,             : New York, New York
                                            August 22, 2022
                        Defendants.       :
                                            REMOTE INITIAL CASE
    ------------------------------------- : MANAGEMENT CONFERENCE

                              PROCEEDINGS BEFORE
                         THE HONORABLE SARAH L. CAVE,
                        UNITED STATES MAGISTRATE JUDGE

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                           E X A M I N A T I O N S

                                                     Re-        Re-
    Witness                Direct      Cross       Direct      Cross

    None

                                E X H I B I T S

    Exhibit                                                            Voir
    Number            Description                        ID    In      Dire

    None
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2               HONORABLE SARAH L. CAVE (THE COURT):              Good

3    afternoon.    This is Magistrate Judge Cave.           We're here

4    for a conference in Phillips vs. City of New York, case

5    number 21-cv-8149.

6               May I have the appearances starting with the

7    plaintiff, please?

8               MS. MARYANNE K. KAISHIAN:         Good afternoon.

9    This is Maryanne K. Kaishian; I'm of counsel to Cohen &

10   Green P.L.L.C., here on behalf of Mr. Phillips.               And I

11   am joined also by Mx. Remy Green, also of Cohen & Green;

12   and by Maya Baker, our summer associate with our office.

13              THE COURT:     Okay.    Good afternoon.

14              MR. MOSTAFA KHAIRY:        Mostafa Khairy from the

15   Office of the Corporation Counsel here on behalf of

16   defendant City of New York.         Good afternoon, your Honor.

17              THE COURT:     Okay.    Good afternoon.       All right,

18   so we're here for the parties' Initial Case Management

19   Conference.     And I have the parties' report of their

20   Rule 26F conference and Proposed Case Management Plan.

21              So, Ms. Kaishian, as I understand it,

22   Mr. Phillips was arrested upstate and then was in

23   custody for, I think it was, four days at Rikers and

24   then released, is that right?

25              MS. KAISHIAN:      Yes, that's right, your Honor.
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2    Approximately four days.        But Mr. Phillips was

3    transferred directly from NYPD custody to Department of

4    Corrections custody without seeing a judge, which is the

5    crux of the issue in this case, of course on top of his

6    actual damages here.

7               THE COURT:     Understood.      Okay.    And did he

8    suffer any physical injuries during his four days in

9    detention?

10              MS. KAISHIAN:      Yes, your Honor.       So

11   Mr. Phillips was in recovery, successful recovery for

12   substance use disorder during the time previous leading

13   up to his arrest and incarceration.            However, while he

14   was incarcerated in DOC custody, he did not receive the

15   medications that he desperately needed to remai n

16   healthy, and so he did, unfortunately, enter into full-

17   blown opioid withdrawal and suffered significant

18   physical ramifications as a result.

19              THE COURT:     Okay.    All right.      And his release

20   on or around the fourth day came as a result of what

21   action?    Was there a court order for that, or just the

22   warden decided to release him, or what?

23              MS. KAISHIAN:      Yes, so Mr. Phillips was able to

24   contact his partner, who in turn was able to contact the

25   Legal Aid Society.       And so the Legal Aid Society was
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2    able to get the Court to issue a cut slip for him

3    effectively, that should not have been necessary because

4    it was not something that should have needed to be

5    ordered at that point, given the procedures that had

6    happened previously.       However, because he had that

7    outside advocacy happening, that was in fact the outcome

8    for him.

9               THE COURT:     Okay.    And that release was end of

10   story as far as any criminal proceedings with respect to

11   the arrest, or was there anything else?

12              MS. KAISHIAN:      That's all, your Honor, because

13   the bench warrant in this instance was a -- it was an

14   arrest warrant from the New York County Criminal Court,

15   but it should have been vacated.           It had been issued in

16   1989.   Mr. Phillips was subsequently arrested on other

17   matters 30 years ago at this point, and those cases were

18   all resolved.     So it was an error that the bench warrant

19   was active, but of course, again, the issue is that,

20   regardless of the status of the warrant, that's really

21   for a judge to decide, which is why the CPL has that

22   protection.

23              THE COURT:     Okay.    Understood.      Thank you for

24   that background.

25              Mr. Khairy, I can imagine you dispute some of
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2    that.   Any other background you want to give me on the

3    claims at this point?

4                MR. KHAIRY:    This is Mostafa Khairy.          Your

5    Honor, not much in this case is actually in dispute when

6    it comes to plaintiff's false arrest and excess

7    detention claim.      He was arrested upstate in New York on

8    July 3rd.    He got pulled over for some sort of traffic

9    infraction, as I understand it.          And when the trooper

10   received his license, the warrant popped from 1989,

11   which in the system still appeared active.              He was

12   brought to the NYPD detective squad which handles

13   upstate arrests for processing.          As I understand it, he

14   was then transferred to Rikers and held there until July

15   7th, when a -- I believe NYPD -- I'm not aware of the

16   cut slip, you know, the cut slip reference that

17   Ms. Kaishian just referenced -- but as I understand it

18   from his DOC file, NYPD Warrant Squad faxed over -- sent

19   a fax to DOC saying that this warrant was vacated by the

20   Court on July 7th, release him immediately.              And then he

21   was released within a couple of hours, as I understand

22   it.

23               There is a little bit of a dispute as to what -

24   - his deliberate indifference to medical needs claim.

25   You know, plaintiff claims that he didn't receive the
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2    necessary meds.      His DOC records indicate that he was

3    seen at the clinic, as well as I have other medical

4    records which have been provided to plaintiff from one

5    of his doctors where he admits to getting his meds, just

6    a different dosage or a lower dosage, I should say.               You

7    know, and as I previously indicated to plaintiff's

8    counsel, that doesn't necessarily sound in a

9    constitutional violation.         That's, if anything, an

10   alleged claim for medical malpractice.            That doesn't

11   necessarily rise to the level of deliberate

12   indifference, based on the case law.

13              THE COURT:     Okay.    Thank you.      That's helpful.

14              And have you had any settlement discussions?

15   I'm not asking you to tell me what they were

16   specifically, but has there been a demand made,

17   Ms. Kaishian?

18              MS. KAISHIAN:      Yes, there has, your Honor.

19              THE COURT:     Okay.    And, Mr. Khairy, where are

20   you in the process of responding to that?

21              MR. KHAIRY:     This is Mostafa Khairy.          We did

22   respond to it.      We also partook in planned mediation;

23   however, you know, both sides seemed to disagree on the

24   legal issues of this case as they pertain to each of the

25   claims.    So that's sort of why everything's sort of been
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2    on a standstill.

3                THE COURT:    Okay.    All right.      I understand.

4    Well, we can revisit that at some point.

5                So, then, Ms. Kaishian, do you in fact have at

6    least some of the medical records that Mr. Khairy was

7    describing?

8                MS. KAISHIAN:     I believe we have some of them.

9    I don't believe they are complete at this point.                  But

10   we've also shared with the defendant some information

11   from Mr. Phillips' doctors who are currently treating

12   him and who were treating him prior to his arrest, as

13   well.     So there has been an exchange of some of the

14   medical documentation here.

15               THE COURT:    Okay.    Great.    And then what other

16   types of documents do you need from the defendant?

17               MS. KAISHIAN:     So I think this is probably a

18   good time to raise an outstanding issue.             So it was not

19   raised at the 26F.       The plaintiff in this case had

20   signaled to defendants in multiple conversations with

21   Mr. Khairy that we might be amending to assert class -

22   wide claims.     We were not sure if this was something

23   that we were going to be able to do.            We're still

24   looking to ensure numerosity in order to assert those

25   claims.    We of course want to be accurate when we're
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2    asserting these claims; however, based on our

3    conversations at this point with defendant organizations

4    and potential plaintiffs, it appears that we do -- you

5    know, we do intend to assert those class-wide claims,

6    which would require, of course, an amendment but also we

7    are asking for Mr. Khairy -- I signaled this to him last

8    week, admittedly quite late in the week, and Mr. Khairy

9    was out of the office, so this remains unresolved for

10   that reason only, but we did ask for two weeks with a

11   specific request for any data or documentation that

12   defendants have regarding numerosity of these potential

13   plaintiffs in this claims.         But we really don't believe

14   and we know for sure Mr. Phillips is not the only person

15   who's been wrongfully, you know, in opposition to the

16   CPL 53070 has been directly delivered to Rikers Island

17   and other city jails in violation of the law.

18              THE COURT:     Okay.    On an old bench warrant like

19   he was or what's involved in --

20              MS. KAISHIAN:      So we're not --

21              THE COURT:     Okay.    Sorry.    Go ahead.

22              MS. KAISHIAN:      I apologize, your Honor.

23              THE COURT:     No, that's okay.       Go ahead.

24              MS. KAISHIAN:      So we have four potential --

25   essentially two large classes, which would be supreme
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 2   court warrants and criminal court warrants.              And inside

 3   of those classes there would be claims where people were

 4   arrested for valid and invalid warrants.             So, regardless

 5   of the validity of the warrants, if the police

 6   department is flagging someone's name as having an

 7   active warrant, part of the reason he needs to go to

 8   court is because the judge is in the best position to

 9   determine whether the warrant is valid, what the status

10   of the case is and what needs to happen next.               So really

11   the validity is almost ancillary to the actual issue;

12   however, we do have those subclasses defined for

13   Mr. Khairy so that when we're doing a numerosity

14   evaluation, we can be in a better position to answer

15   that question directly.

16              THE COURT:      Okay.    And so the two weeks that

17   you asked for is -- was two weeks from now or two weeks

18   from some other point in time?

19              MS. KAISHIAN:      Two weeks from now.        But if the

20   timing is the only issue that Mr. Khairy identifies, of

21   course we'd be more than happy to set something else

22   down, you know, if two weeks is not enough time.

23              THE COURT:      Okay.    And so you need the data

24   from him about other potential claims, or you have that

25   already?
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 2              MS. KAISHIAN:      That's the data that we're

 3   seeking from him.       Of course, we've also done our own

 4   potential plaintiff outreach, so we know other cases do

 5   exist.    But in terms of actual numerosity, we have

 6   reason to believe it's dozens of people per year that

 7   this is happening to, and so we want to see confirmation

 8   before we make a claim like that officially.

 9              THE COURT:      Understood.     Okay.    Mr. Khairy,

10   have you had a chance to reflect on the plaintiff's

11   request for more data?

12              MR. KHAIRY:      This is Mostafa Khairy.

13   Admittedly, I am not, you know, as I indicated to

14   Ms. Kaishian this morning, I was on vacation last week,

15   the end of last week, so I didn't see the email till

16   this morning when I had gone into the office and have

17   not had time to confer internally about sort of the next

18   steps.    However, I know at this point we would need to

19   see an amended Complaint before any sort of discovery or

20   statistics are released because as of right now I'm

21   still unclear what the actual Monell theory is.               I know

22   we have had discussions about this in the past; I know

23   the most substantive one occurred in April right before

24   the planned mediation.        However, whether or not they can

25   actually state a claim for a class action based on an
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 2   unconstitutional policy is a different story.               And I

 3   would first need to see an Amended Complaint before I

 4   know how to respond to it, because it's possible that we

 5   do end up moving to dismiss in lieu of, you know,

 6   actually proceeding to discovery at first.              As of right

 7   now there is no Monell claim. Plaintiff brought this

 8   original case with the City as a defendant under a

 9   respondeat theory, not a Monell one.            So I have to first

10   see the Monell claim before I'm in a better position to

11   partake in discovery or even respond to anything.

12              THE COURT:      Okay.    Understood.

13              Ms. Kaishian, where are you in drafting an

14   Amended Complaint for a hypothetical class?

15              MS. KAISHIAN:      We are certainly working on

16   that, of course.       We're hoping to have just the

17   statistics.     You know, assuming that -- I don't want to

18   sound naïve or overly optimistic about the DOC's

19   reporting requirements and the spreadsheet they're

20   keeping in terms of who is actually the team; however,

21   all we're really seeking is just a strict by-the-number.

22   You know, I'm certain that there must be some sort of

23   policy, whether it's adhered to or not, to track the

24   mechanisms by which people are being sent into these

25   jails and when they're leaving and why they're there.
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 2   That's really all that we're seeking at this point.

 3               There is definitely a Monell claim that we've

 4   spoken with Mr. Khairy about.          Moreover, he did indicate

 5   during that substantive call he mentioned in April that,

 6   you know, upon conferring with some of the defendants in

 7   this case, this is not an unusual policy.              That is what

 8   he actually shared with us at that point.

 9               And, you know, furthermore, I know that this is

10   a policy.     As a public defender I represented people who

11   were brought in wrongly on these sorts of cases where

12   they really should not have gone directly to jail.                  And

13   so we know that this is happening.            We also know that

14   there's a clear CPL statute governing it.              And, yet,

15   that does not jibe with what either Mr. Khairy has said

16   or what was actually happening in the real world.                  And

17   so we're just seeking to ensure numerosity, but this is

18   not an issue about whether we're just fishing for

19   whether this is happening or whether it's a policy.                  We

20   know that it is.

21               THE COURT:     Right.    No, no, no.      I understand.

22   I guess what I was thinking is if you can draft it and

23   just leave, you know, the number sort of blank; but in

24   terms of sketching out what the theory is.              As I heard

25   what Mr. Khairy was saying, that's what he's looking for
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 2   from you is if you could share that with him, and then

 3   he could get back to you on whether he's willing to

 4   voluntarily share the data with you or whether you'll

 5   have to go on, you know, some other basis.              So do you

 6   think you could proceed in that vein, you know, so like

 7   I said, sort of leaving a blank space for what the

 8   estimated number of people would be, but otherwise

 9   setting out what the theory is?

10              MS. KAISHIAN:      You know, I'm actually going to

11   ask Mx. Green to weigh in here, just because they are

12   more familiar with the class element here.              But I will

13   also say that we have engaged in many talks with the

14   City.    And so I think we have previously put in writing

15   what our Monell theory is.          And I'd be more than happy

16   to just do that again in light of this conversation, as

17   well.

18              THE COURT:      Okay.     Mx. Green?

19              MX. REMY GREEN:         Yes.   Good afternoon, your

20   Honor.    I think the answer is we're not looking for

21   formal discovery.       I think in any number of class action

22   contexts, I think this is perhaps a little more common

23   in consumer class actions than in 1983 class actions,

24   but informal discovery about numerosity is, you know, I

25   think fairly routine.        You know, I've seen any number of
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 2   minute orders that just say by such-and-such a date,

 3   defendants will state the number of people in the class.

 4              I think we're being a little overcautious, and

 5   perhaps the best answer is that we could just file a

 6   class action complaint in the next few days.               Like, it

 7   will not take us particularly long to do it.               It is just

 8   a -- you know, with the City of New York and with the

 9   seriousness of the allegations, it's really just belt

10   and suspenders we're trying to do here.             And, you know,

11   our thought is it should not be particularly hard to

12   say, you know, how many people do you bring to -- you

13   know, do you bring to Rikers or other jails without

14   bringing them to court first every year.             Right?        That

15   should be written down somewhere or easily discernible

16   from data that really ought to be kept if it's not.

17   And, you know, if the answer is that it's not kept,

18   then, you know, I think it's just a -- there's a

19   chicken-and-egg issue here, obviously.

20              THE COURT:      Yes, not --

21              MX. GREEN:      And, you know, I think it should be

22   easy enough, but if the City's position is that we're

23   not entitled to that information, I think then the

24   answer is that's fine, we're probably just going to then

25   -- unless the Court strongly disagrees, you know, I
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 2   think -- I feel like if that's where they are, then

 3   certainly they can't accuse me of not being diligent

 4   when I say it's numerous.

 5              THE COURT:      Of course, no, no, no.        Right.

 6   Yes, of course.      No, no, no, I understand.          I guess not

 7   having been privy to the correspondence and prior

 8   conversations about this, I guess I can understand a

 9   little bit why it's helpful to see sort of your theory

10   in writing.     And, you know, given that it is an

11   individual Complaint right now, I'm not sure -- a

12   opposed to a putative class, you know, that discovery

13   might arguably be sort of outside the scope.               But I

14   understand your hesitancy of, you know, wanting to have

15   as much information as you could possibly have.               But I

16   guess -- and in terms of actually filing, the defendants

17   have already answered, so you do need leave of Court in

18   order to file an Amended Complaint, anyway.              I guess

19   what I'm suggesting is what I've done in other cases

20   where the plaintiff has indicated an interest in

21   amending is sharing the proposed Amended Complaint,

22   albeit obviously in draft form, with the City and seeing

23   if you can get an answer to two questions, one of which

24   is, you know, would you share the data with us, and then

25   two is will you consent.         And then you can file your
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 2   motion and let know and, you know, be letting the Court

 3   know whether you have -- whether you're amending on

 4   consent or whether you're asking me for leave without

 5   consent.    And then, obviously, we would have a briefing

 6   schedule on that.

 7              MX. GREEN:      That makes a lot of sense.          And I

 8   think your idea of putting a blank in makes sense, as

 9   well.

10              THE COURT:      Good.    Good.

11              All right, so when do you think you would be in

12   a position to share a draft with Mr. Khairy?

13              MX. GREEN:      So given that we also have

14   subclasses and Mr. Phillips both has some somewhat

15   unique damages and, you know, I don't know that I'd view

16   that solely as a hurdle, but obviously we'd like to have

17   more than one plaintiff, and we have multiple

18   subclasses, our retainers are going out to our potential

19   other representatives right now, I think we could share

20   a draft without those plaintiffs within a couple of

21   days, with those plaintiffs within, you know, let's say

22   three weeks.

23              THE COURT:      Okay.    Well, I think it's probably

24   -- the more you have, the better.           So I'm not trying to

25   rush you; I was just trying to get --
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 2              MX. GREEN:      No, no, no, I --

 3              THE COURT:      -- makes sense.      So my suggestion

 4   would be, you know, I'm happy to give you the three

 5   weeks, and then give Mr. Khairy -- you know, I'll ask

 6   him how much time he needs -- but at least a week or two

 7   to let you know one way or the other whether he consents

 8   and/or will share the data.          And then I'll set a

 9   deadline either for you to file the proposed Amended

10   Complaint or let me know that you need more time because

11   the parties are still talking about whether the

12   defendant will consent and/or whether we'll share the

13   data.    You know, so basically within a month or so I'm

14   either seeing a motion with the proposed Amended

15   Complaint or you're updating me on where you are in the

16   process.    Fair enough?

17              MX. GREEN:      Fantastic.     Yes, your Honor.

18              MS. KAISHIAN:      Yes, thank you.

19              THE COURT:      All right, Mr. Khairy, does that

20   work for you?

21              MR. KHAIRY:      This is Mostafa Khairy.         That's

22   fine, your Honor, thank you.          You know, I'm not trying

23   to rush plaintiff, as well, either.            The more

24   information I have, the better position I'll be in to

25   respond.    So if they need longer than three weeks,
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 2   that's also fine by me.

 3              THE COURT:      That's what I figured.        That's what

 4   I figured.     But we'll set a month from today -- I'll

 5   just make sure that that's -- hold on; I'm making sure

 6   that's a weekday.       Yes, September 22nd is a Thursday.

 7   So by September 22, either the plaintiff will file a

 8   motion for leave to amend the Complaint or, you know, if

 9   you're still working, you'll ask for an extension of

10   time to do that and tell me how much time you need, if

11   you're still talking with the defendant about that.

12   Okay?

13              MS. KAISHIAN:      Yes, thank you.

14              THE COURT:      All right, great.       Okay, then, as

15   far as the rest of the schedule goes, then, does it kind

16   of make sense to wait and see if we are actually -- it

17   sounds like we're probably getting an Amended Complaint

18   one way or the other, either one that we have to decide

19   or want on consent.        And so that's probably going to

20   change the schedule.        So my thought is that maybe we

21   hold off on the rest of the Case Management Plan and we

22   revisit this after we see what's happening with the

23   Amended Complaint.       Is that all right with you,

24   Ms. Kaishian and Mx. Green?

25              MS. KAISHIAN:      Yes, I think that sounds fine.
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 2   Thank you.

 3              THE COURT:      All right, Mr. Khairy?

 4              MR. KHAIRY:      This is Mostafa Khairy.         Yes, I

 5   think that's the optimal way to proceed.             Thank you,

 6   your Honor.

 7              THE COURT:      Okay.    Great.    All right.     So we'll

 8   hold the rest of the schedule in abeyance.              And then I

 9   guess once we see what the plaintiff is going to do, we

10   may get you on for another conference to talk about the

11   schedule or if it looks like we're going to have a

12   briefing schedule on the motion for leave to amend,

13   we'll figure out what the most efficient way will be to

14   move the case forward.        All right?

15              MX. GREEN:      Your Honor, if I --

16              MS. KAISHIAN:      Sounds --

17              THE COURT:      Yes --

18              MX. GREEN:      If I may raise one thing?

19              THE COURT:      Yes.

20              MX. GREEN:      You know, so we are thinking about,

21   obviously, class certification as a potential motion.

22   Defendants have indicated that they are considering a

23   motion to dismiss, particularly if we have certain

24   Monell claims.      But as everyone has kind of said, it

25   doesn't seem like any facts are in dispute, so of
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 2   course, (indiscernible) makes a lot of sense to -- you

 3   know, I don't think this is -- I think this may be one

 4   of those rare cases where a pre-discovery summary

 5   judgment or judgment on the pleadings motion makes a lot

 6   of sense.     So perhaps the way we -- you know, I don't

 7   know that we need to do that today, but perhaps the way

 8   we should do it is we should just bundle all three of

 9   those things together and brief them together.

10               THE COURT:     Okay.    All right.     Well, that makes

11   sense.    So how about you -- why don't you share your

12   proposed Amended Complaint with Mr. Khairy?              I guess

13   that will be one of the things I'll ask you to talk

14   about is, you know, because one thing he could do is he

15   could consent to you filing it, but also then plan to

16   file the motion for judgment on the pleadings sooner

17   rather than later, as opposed to briefing a motion for

18   leave to amend and then briefing a motion for judgment

19   on the pleadings.

20               MX. GREEN:     Right, right.      And then I think we

21   would have an affirmative motion for summary judgment in

22   this case just because as my friend said, we don't

23   really have a dispute; the question is just whether the

24   CPL requires this.

25               THE COURT:     Exactly.    So maybe what you're
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 2   talking about is a briefing schedule on cross-motions

 3   either for summary judgment and/or on the pleadings or

 4   something else.

 5              MX. GREEN:      And class certification --

 6              THE COURT:      And class certification, exactly,

 7   yes.

 8              Okay.    All right, so I'll ask the parties to

 9   keep meeting and conferring.          And the sooner you can

10   share the proposed Amended Complaint with Mr. Khairy and

11   then, like I said, we'll ask to hear back from you about

12   what our next steps are going to be by September 22nd.

13   Okay?

14              MX. GREEN:      Thank you, your Honor.

15              MS. KAISHIAN:      Yes, thank you.

16              THE COURT:      Okay.    Anything else you want to

17   raise on the plaintiff's side?

18              MS. KAISHIAN:      No, I believe that's all.            Thank

19   you.

20              THE COURT:      Okay.    Mr. Khairy?

21              MR. KHAIRY:      No.    Thank you, your Honor.

22              THE COURT:      All right.     And -- all right, so

23   we'll look forward to hearing from you by September 22nd

24   on the amendment and/or subsequent briefing.               And we'll

25   hold the rest of the schedule in abeyance until we get
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 2   that sorted out.

 3              Thank you all very much.          Have a good

 4   afternoon.

 5              (Whereupon, the matter is adjourned.)

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 3                         C E R T I F I C A T E

 4

 5              I, Carole Ludwig, certify that the foregoing

 6   transcript of proceedings in the case of Phillips v.

 7   City of New York et al, Docket #21-cv-08149-ALC-SLC, was

 8   prepared using digital transcription software and is a

 9   true and accurate record of the proceedings.

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13   Signature_______________________________

14                     Carole Ludwig

15   Date:      October 12, 2022

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